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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,
 BI-LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS
 LITIGATION                                              Master Docket: Misc. No. 2:21-mc-
                                                         01230-JFC
 This Document Relates to:
 MICHAEL LAWRENCE,                                       MDL No. 3014
 Case No.: 2:22-cv-00412-JFC (WD-PA)
 Transferred from Maryland (8:22-cv-390)
         Plaintiff,

        v.

 PHILIPS NORTH AMERICA LLC, et. al.
       Defendants.


                                              LINE

       COMES NOW, Plaintiff, MICHAEL LAWRENCE (“Plaintiff” or “Plaintiff Lawrence”),

by and through counsel, files this Line and says:

       On June 26, 2022, Michael Lawrence passed away. As of October 17, 2023, the Estate of

Michael Lawrence was opened and the Executed Last Will and Testament was admitted to

probate. Will the Clerk of this Court please change the name of Plaintiff Lawrence from Michael

Lawrence to the Estate of Michael Lawrence. See the Estate of Michael Lawrence

Administrative Probate Order attached as Exhibit 1.

                                                             Respectfully submitted,

                                                             /s/ Andrew O. Clarke
                                                             Andrew O. Clarke, Esquire
                                                             MD Bar ID: 2010260002
                                                             A. CLARKE LAW, PLLC
                                                             163 Waterfront Street, Suite 440
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                                                             Counsel for Michael Lawrence

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                                CERTIFICATE OF SERVICE


       I hereby certify that on October 25, 2023, a true copy of the foregoing was electronically

filed via CM/ECF. I also certify that this document is being served today on all counsel of record

by transmission of Notices of Electronic Filing generated by CM/ECF.


                                                                    /s/ Andrew O. Clarke_______
                                                                    Andrew O. Clarke, Esquire




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